                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                              UNITED STATES DISTRICT COURT                               April 18, 2017
                               SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                   HOUSTON DIVISION

LORNA RENEE CLOW,                                  §
                                                   §
         Plaintiff,                                §
VS.                                                §   CIVIL ACTION NO. 4:16-CV-3612
                                                   §
SHERATON HOTEL, et al,                             §
                                                   §
         Defendants.                               §

                         ORDER OF DISMISSAL WITH PREJUDICE

       In accordance with the plaintiffs’ motion for dismissal with prejudice filed by the

plaintiffs’, Lorna Clow, Julius Bagwell, III, Patricia Newhouse, and Tonya D. Samples, it is

hereby ORDERED that the action against the defendants’, Sheraton Hotel, Driftwood Hospitality

Management, L.L.C., Driftwood Hospitality Management II, LLC, and Houston North Payroll,

LLC and all claims against Sheraton Hotel, Driftwood Hospitality Management, L.L.C.,

Driftwood Hospitality Management II, LLC, and Houston North Payroll, LLC, contained in this

matter, should be dismissed with prejudice. Each party shall be responsible for its own respective

costs and attorneys’ fees incurred as a result of this action.

       It is so ORDERED.

       SIGNED on this 18th day of April, 2017.


                                                   ___________________________________
                                                   Kenneth M. Hoyt
                                                   United States District Judge




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